Case 6:19-CV-00565-CEI\/|-LRH Document 1 Filed 03/21/19 Page 1 of 15 Page|D 1

Pro Se 7 (Rev. 1216) Complaint for Employmenl Discriminmion

UNITED STATES DISTRICT COURT

for the

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FH 319-5

gm g District of P|Q;g@@
c(/W_R[Q@Division

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l Plaintij'fs)
( Write the ji¢ll name of each plaintij` who is filing this complaint
l_'f the names of all the piaintt`jj’.s' cannot fit in the space abc)ve.
please write "see attached " in the space and attach an additional
page with the full fist of names. )
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infirm Gzp<n:) \/act>\hes\)§.

Defendant(s)
f Write rltefitil name of each defendant who is being sued. If the
names afall the defendants cannot fit in the space above. please
write “see attached" in the space and attach an additional page
with the full list ofnames.)

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Case No. Z"Q*`I., \6{` C'/\) 6 b€ " O\[i'“ LH(/El;i

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COMPLAINT FOR EMPLOYMENT DISCRll\/IINATION

I. The Parties to 'I`his Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint Attach additional pages if

needed.
Name
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address

B. The Defendant(s)

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Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization or a corporation For an individual defendant,
include the person’s job or title (ifknown). Attach additional pages if needed.

Page l of 6

Case 6:19-CV-00565-CEI\/|-LRH Document 1 Filed 03/21/19 Page 2 of 15 Page|D 2

Pro Se 7 (Rev. 12/16) Complaim for Emp|oymem Discrimination

Defendant No. l

 

 

 

 

 

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City and C°“’“Y OK\(><¢\>\'I) _. ©\?.t>qoec Cew\?<»\

State and Zip Code {2\© aim l 5 § 3 §§ d

Telephone Number (q@‘]) 5 92 \ , 3\ CO

 

E-mail AddreSS ( if known )

 

Defendant No. 2

N amc

 

10b OI' Ti[le (t]'known)
Street Address

 

 

City and County

 

State and Zip Code

 

Telephone Number

 

E-mail Address (ifknawn)

 

Defendant No. 3

Name

 

10b 01' Titie ( if known )
Street Address

 

 

City and County

 

State and Zip Code

 

Telephone Number

 

E-l‘nail Addl'€SS f rf known )

 

Defendant No. 4

Name

 

10b 01‘ Til_le (tfknv\»~n)
Street Address

 

 

City and County

 

State and Zip Code

 

Telephone Number

 

E-mail Addl'BSS f if known )

 

PageZof 6

Case 6:19-cv-OO565-CEI\/|-LRH Document 1 Filed 03/21/19 Page 3 of 15 Page|D 3

Pro Se 7 (Rev. 12/16) Cumplnint for Employmcnt Discrimination

C. Place of Employment

The address at which I sought employment or was employed by the defendant(s) is

 

 

 

 

Name th two 63 eaton visas hinds

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State and Zip Code ;:lOk/L{OB` 35?/<55

Telephone Number CL\O_I) “| a 3 “ 333 li

 

II. Basis for Jurisdiction

This action is brought for discrimination in employment pursuant to (clreck ali that app!y):

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Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000€ to 20006-17 (race,

color, gender, religion, national origin).

(Note: ln order to bring suit in federal district court under Title Vil, you must frst obtain a
Notice of Right to Sue letter from the Equal Employment Opporrunity Commission.)

Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634.

(Note.‘ In order to bring .S'uit in federal district court under the Age Discrimination in
Employment Act, you must first file a charge with the Equai Empioyment Opportunity
Commission. }

Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to 12117.

(Note: In order to bring suit in federal district court under the Americans with Disabilities
Act, you must first obtain a Notice of Right to Sne letter from the Equal Employment
Opportunity Commission.)

Othel° federal law (specifv the federal law):

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Relevant state law (_\~pecifv, ifkm»vn):

 

Relevant city or county law rspe¢.-i,f'v, ifknown):

 

Page 3 of 6

Case 6:19-cV-OO565-CEI\/|-LRH Document 1 Filed 03/21/19 Page 4 of 15 Page|D 4

Pro Se 7 (Rev. 1216) Complainl for Employmenl Discrimination

III.

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
the dates and places of that involvement or conduct. lf more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph Attach additional pages if needed.

A. The discriminatory conduct of which I complain in this action includes tchet-k ali that appty):

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Failure to hire me.

Termination of my employment

Failure to promote me.

Failure to accommodate my disability.

Unequal terms and conditions of my employment
Retaliation.

OLher acts tspet»ifv);

 

(Note: Only those grounds raised in the charge filed with the Equal Employment
Opportunity Commission can be considered by the federal district court under the
federal employment discrimination statutes.)

B. lt is my best recollection that the alleged discriminatory acts occurred on date(s)

’éetwee)~» Mt>:t) ol- s?o\"| up uaw Fe\@.-wae;t) el acts

C. I believe that defendant(s) tchet-k nnt_»):

@E

is/are still committing these acts against me.

is/are not still committing these acts against me.

 

 

 

D. Defendant(s) discriminated against me based on my (t-tteck ali that apply and expittin):
race A$ruct)a\§ - Amet?.\ ct>tt~`>
color
gender/sex
religion

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national origin

 

age (_vear afbirth) (only when asserting a claim of age discrimination.)

disability or perceived disability tspecif\- disability

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E. The facts of my case are as follows. Attach additional pages if needed

Pnge 4 of 6

Case 6:19-cV-OO565-CEI\/|-LRH Document 1 Filed 03/21/19 Page 5 of 15 Page|D 5

Fm Se 'l' (Rev. 12/16) Complaint for Employment Discriminution

 

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(Note: As additional support for the facts of your claim, you may attach to this complaint a copy of
your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
relevant state or city human rights division )

IV. Exhaustion of Federal Administrative Remedies

A. lt is my best recollection that l i`rled a charge with the Equal Employment Opportunity Commission or
my Equal Employment Opportunity counselor regarding the defendants alleged discriminatory conduct
011 (date)

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B. The Equal Employment Opportunity Cornmission (check utter
[:| has not issued a Notice of Right to Sue letter.
issued a Notice of Right to Sue letter, which l received on (tiate)

(Note: Attach a copy of the Nott'ce ofRight to Sue letter front the Equal Employment
Opportunity Commission to this complaint )

C. Only litigants alleging age discrimination must answer this question

Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
regarding the defendant‘s alleged discriminatory conduct tcheck otter

I:] 60 days or more have elapsed
|:| less than 60 days have elapsed.

V. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
amounts of any actual damages claimed for the acts alleged and the basis for these amounts lnclude any punitive
or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
money damages

Page 5 of 6

Case 6:19-cV-OO565-CEI\/|-LRH Document 1 Filed 03/21/19 Page 6 of 15 Page|D 6

Pro Se 7 (Rev. 12./16) Complaint for Employment Discrimination

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VI. Certification and Closing
Under Federal Rule of Civil Procedure ll, by signing below, l certify to the best of my knowledge, information,
and belief that this complaint: ( I) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable

opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule ll.

A. For Parties Withotlt an Attorney

I agree to provide the Clerk’s Oft`rce with any changes to my address where case*related papers may be
served. l understand that my failure to keep a current address on file with the Clerk’s Offrce may result
in the dismissal of my case.

Date of signing: _Q,M
signature of Praintiff MW
» l

Printed Name of Plaintiff ‘VFE/( C.P“ZCD ‘-Z_ ( k('/|»ZO l \¥__
B. For Attorneys

Date of signing:

Signature of Attomey

 

Printed Natne of Attomey

 

Bar Number

 

Name of Law Firm
Street Address
State and Zip Code
Telephone Number
E-mail Address

 

 

 

 

 

Pnge 6 of 6

Case 6:19-cV-00565-CEI\/|-LRH Document 1 Filed 03/21/19 Page 7 of 15 Page|D 7

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This complaint is brought forth before the Court to address matters of,
but not limited to Employment Retaliation, Harassment, Defamation of
Character, Wrongful Termination, and False Claims made in order to deny
the Plaintiff of Unemployment Benefits. The Plaintiff will bring forth and
show evidence to the courts of these offenses and prove that the Defendant in
this matter in their capacity willfully, knowingly, and intentionally took part
in all claims set forth in this complaint

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l. Plaintiff, Ricardo R. LaCroix proceeding Pro Se, brings forth this action
pursuant to 42 U.S.C. 1981, The Americans with Disabilities Act of 1990, and
Title VII of the Civil Rights Act of 1964, as amended, to remedy acts of
employment discrimination, harassment, wrongful termination, conspiring and
retaliation against him by his former employer Hilton Grand Vacations. Plaintiff
contends that Hilton Grand Vacations management and administrative staff
discriminated, harassed, and retaliated against him by tampering with his job
duties and functions, intentionally creating a hostile work environment,
conspired in attempting constructive discharge, denied the Plaintili` of earned
wages, falsified statements and/or documents to the State of Florida in order to
deny the Plaintiff Unemployment Benefits, and also made false statements
regarding the Plaintiffs character, mental health and actions leading up to his
wrongful termination which took place on February 21, 2018.

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2. This Court has Jurisdiction over the subject matter of this civil action pursuant
to 42 U.S.C. 1981, The Americans with Disabilities Act of 1990, and Title VII of
the Civil Rights Act of 1964.

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3. Venue is proper in this judicial district under 42 U.S.C. 1981 and Title VII of
the Civil Rights Act of 1964.

Case 6:19-cv-OO565-CEI\/|-LRH Document 1 Filed 03/21/19 Page 8 of 15 Page|D 8

BAR'[IES

4. Plaintifi`, Ricardo R. LaCroix, an African-American male, is a citizen of the
Um`ted States and a resident of the State of Flon`da. At all times relevant to this
suit, up until his termination in February of 2018, he was employed at Hilton
Grand Vacations.

5. Defendant, I-Iilton Grand Vacations, currently operates as a private entity/
organization Defendants known place of business and operations is 6355
Metrowest Blvd, Orlando, FL 32 835.

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6. Plaintiff, Ricardo R. LaCroix, an Ali’ican-American male, was an employee at
Hilton Grand Vacations form January 3, 2017 until February 21, 2018.

7 . Mr. LaCroix was employed as a sales represented that sold vacation packages to
existing and non existing Hilton Honors members under the condition that they
agreed to participate in a timeshare tour during their stay.

8. His compensation plan consisted of an hourly wage of $8.05, plus bonuses and
commissions which was paid bi-weekly.

9. Within the first month and a half of Plaintiff’s employment at Hilton Grand
Vacations, the compensation plan was changed. These changes to his
compensation plan over the course of his employment took place an additional
three times over a period of seven months

lO. During the course of his employment, Plaintiff would constantly confront his
supervisor Tammy and upper management regarding the cancellation of sales
that were conducted by the book and how he was taught Though it is
implemented in the sales process and employees are instructed to inform their
customers on a recorded phone call that there is a “no refund policy”,
customers would still be issued a refund regardless of the company policy. This
action therefore would cancel PlaintiH" s sales which led to the denial of
bonuses and commissions he would have received.

Case 6:19-cV-OO565-CEI\/|-LRH Document 1 Filed 03/21/19 Page 9 of 15 Page|D 9

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When the Plaintiff confronted upper management about this, he was told that
the company would rather cancel an employees sale even thought they did their
job correctly than lose a merchant account The Plaintiff then questioned what
the purpose was for instructing employees to inform customers on a recorded
line about a “no refund policy” if the customer would be issued a refund
regardless lf an employee did not state on the recorded line that there was a
“no refund policy”, then that sale would be cancelled.

In May of 2017, before the Plaintiff began his shift and prior to clocking in to
the time clock, as soon as he walked into the building, he was asked to step
into an office with a supervisor from another team named Chad. Plaintiff found
this to be quite odd being that he never really communicated with this
particular supervisor. In this meeting, the Plaintiff was asked questions and
interrogated as if he were under investigation for sexual harassment He was
asked what he knew about another employee and a member of management
possibly having a relationship, if he knew about an outing that took place
outside of work during Cinco de Mayo, and other various questions Plaintiff
provided know answers because he didn’t know anything about whatever
claims were being made. He also asked why he was being questioned and felt
as if he was being targeted regarding issues he had nothing to do with.

The Plaintiff believes that these actions were just the beginning of the
retaliatory conduct his employer began to convey towards him due to his
outspokeuness. From that point forward, Plaintiff endured much more
retaliation and harassment.

After this meeting, [the Plaintiff’s own Team Lead Pedro, began attempting to
coerce the Plaintiff into seeking employment elsewhere The Team Lead would
constantly make comments about how he to was planning on leaving Hilton
and that he knew some of the upper management at Holiday Inn Club
Vacations, the other employer, and that the Plaintili` would be a good fit there.
He also stated that he would put in a “good wor ” for the Plaintiff almost
guaranteeing that if the Plaintiff applied for a position, he would certame
secure employment

This coercive tactic by the Plaintiff’s Team Lead took place for months. Finally
in mid July of 2017, the Plaintiff decided that he would apply at Holiday Inn
Club due to the ongoing issues he had with his sales being cancelled and the
additional retaliatory conduct that he felt his employer was participating in.

Case 6:19-cV-OO565-CEI\/|-LRH Document 1 Filed 03/21/19 Page 10 of 15 Page|D 10

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The Plaintiff was offered a position at Holiday lnn Club which had a start date
of July 31, 2017. Ironically enough, the timeshare community in Central
Florida is a pretty tight knit community meaning that all the competitors know
each other from upper management down to the sales representatives Once
Plaintiff’s Team Lead and upper management caught wind that the Plaintiff
was considering leaving the company, his work environment became even
more hostile due to the employer trying to force the claimant to quit

On July 31, 2017 , the Plaintiff walked into work at Hilton Grand Vacations. He
was able to tell the look of surprise on his supervisors and managements faces
which also conveyed a look of disappointment On this day, the Plaintiff was
supposed to begin his training at Holiday lnn Club Vacations, not still be
employed at Hilton Grand Vacations.

The Plaintiff would like to point out that on this same day, July 31, 2017 ,
Hilton Grand Vacations had changed their compensation plan back to the
Plaintiff’s original compensation structure which made this the fourth time in
seven months that it was changed. The Plaintiff found it quite ironic that on the
day he was to start his employment at another company, his current employer
decided to go back to the original compensation plan was agreed upon when he
was hired. This particular compensation plan was favored by all employees
including the Plaintiff because it made reaching the sales goals more attainable,
where as the other three did not.

The Plaintiff felt that his choice to remain employed at Hilton as opposed to
quitting and starting employment at Holiday Inn Club was the best decision out
of the two choices he had before him. Little did he know that if he would have
quit began his training at Holiday Inn Club. he would have been fired due to
his background check coming back negative This was just another incident
that the Plaintiff felt could not have been coincidental

Something else that the Plaintiff found interesting was that the same Team
Lead that continuously kept encouraging the Plaintiff to apply at Holiday Inn
Club and stated that he was leaving never quit Hilton Grand Vacation himself
like he said he would on numerous occasions In fact, he was later promoted to
a supervisor position and given his own Team.

lu the months to come, Plaintiff continued to endure retaliatory conduct from
his employer up until being fired on February 21, 2018. His work environment
became increasingly hostile, his work schedule and attendance record would be

Case 6:19-cV-OO565-CEI\/|-LRH Document 1 Filed 03/21/19 Page 11 of 15 Page|D 11

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changed without his knowledge, his phone calls would be tampered with
preventing him from being able to successfully close deals and meat his sales
quotas These tactics were attempts to create a constructive discharge scenario
trying to force the Plaintiff to quit as opposed to him being fired.

On two separate occasions Plaintiff caught one of his Team Leads Nelson C.
secretly recording him on his personal cellphone. The first time Plaintiff
addressed this particular Team Lead, he denied the action. The second time the
Plaintiff addressed the matter, the Team Lead could not provide an explanation
for why he was recording the Plaintiff due to being caught red-handed.

Due to the Plaintiff experiencing similar situations at a previous employer in
2016 (Reference Case No. 8:16-cv-1516-T-17-JSS and 8:16-cv-1515-T-35-
TGW), the Plaintiff began video recording his daily activities while at work to
show his interactions

In February of 2018, the Plaintifi"s work environment became increasingly
hostile while employed at Hilton Grand Vacations. Gutside of the standard
tampering with his phone calls to prevent him from reaching his sales goals
and other intentional interferences with his work duties, the Plaintiff began
noticing that his employer was also trying to also create a narrative indicating
that the Plaintiff may have some type of personal or psychological issues that
he was dealing with.

The fact that the Plaintiff experienced these same tactics expressed in a civil
suit filed in 2016, is one of the main reasons why the Plaintiff began to record
his daily activities Management and employees began asking the Plaintiff
what was wrong and if he was okay as if to assume he was not in the correct
state of mind. The Plaintiff expressed that he was perfectly fine and that he just
wanted to be left alone and not be bothered by anyone due to the shady
business tactics and hostile work environment his employer was creating
around him.

On February 21, 2018, the Plaintiff was asked by his supervisor Tammy P. if he
was ok and asked to step into the computer room off of the work floor at the
beginning of his shift With her and another Team Lead named Derrick. He was
told by his supervisor Tammy that everything was going to be okay and was
lead by her to Human Resources where he was met by Stephen H. one of the
HR supervisors

Case 6:19-cV-OO565-CEI\/|-LRH Document 1 Filed 03/21/19 Page 12 of 15 Page|D 12

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Mr. Hong informed the Plaintiff that if he had any personal issues that he
should take a few days off work and contact the employee help line if
necessary. He was provided a phone number and sent home.

On March 5th, the Plaintiff retmned to work and was denied entry into the
building. He was met by Stephen Hong outside of the building where he was
told that he was terminated for job abandonment The Plaintiff questioned how
he could be terminated for job abandonment when in fact, he was told to take a
few days off by this same individual Mr. Hong tried to lie to the Plaintifi"s
face by stating that he never told the Plaintiff to take a few days off.

As the Plaintiff began walking to his vehicle, he was stopped by an Orlando
Police officer and told that Mr. Hong called regarding a trespass The Plaintiff
was not only terminated from a job that gave him permission to take a few days
off, he was also issued a trespass warning by Orlando Police Depart:ment.

Within a matter of weeks, the Plaintiff applied for unemployment benefits with
the State of Florida. The Plaintiffs initial unemployment claim was denied due
to his employer informing the state that the Plaintiff was terminated due to
abandonment which is viewed as an employee quitting.

The Plaintiff appealed the decision It was later determined by an Appeals
Referee that the Plaintiff was in fact wrongfully terminated after the employer
admitted on a recorded line that they did instruct the Plaintiff to take a few
days off of work. The questioned raised was, “How can you fire him for not
showing up to work if you told him to take a few days oft?”

This particular situation regarding the Plaintiff’s unemployment claim is a
perfect example of how far his employer, Hilton Grand Vacations was willing
to go to in order to sabotage the Plaintiff’s livelihood. Not only did Hilton
Grand Vacations lie to the state in order to deny the Plaintiff his right to
unemployment compensation, their discriminatory animus and retaliatory
tactics are made even more clear by this type of action taken against the
Plaintiff.

Case 6:19-cv-OO565-CEI\/|-LRH Document 1 Filed 03/21/19 Page 13 of 15 Page|D 13

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(Violation of 42 U.S.C. 1981 - Retaliatory Conduct against an
Employee by an Employer)

The foregoing paragraphs detail acts of intentionally tampering and interfering
with the Plaintiff’s daily job duties, functions and compensation in order to
prevent the Plaintiff from meeting his sales quotas and receiving his bonuses
and commissions constitute a retaliatory conduct against him for being
outspoken about certain issues

The employer attempting to create the narrative suggesting that the Plaintiff
was suffering from some type of personal or mental issue to find a way to
wrongfully terminate the Plaintiff from his position of employment show a
conduct of retaliation

Actions taken by the employer, such as providing false information to
government agency, in order to deny the Plaintiff of his right to Unemployment
Benefits is another clear example of how the Employer engaged in retaliatory
conduct against the Plaintiff.

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(Hostile and Abusive Working Environment)

The foregoing paragraphs detail how the employer created a hostile work
environment for the Plaintiff in order to try and create a situation that would
force constructive discharge

Tampering with the Plaintifi"s work schedule, attendance record, and a member
of management attempting to coerce the Plaintiff into quitting his current
position show additional forms of how the employer took part in creating an
uncomfortable environment for the Plaintiff to perform his job duties

Case 6:19-cV-OO565-CEI\/|-LRH Document 1 Filed 03/21/19 Page 14 of 15 Page|D 14

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(Violation of the Americans with Disabilitios Act of 1990)

The employer took on the perspective, created a narrative, and acted on the
assumption that the Plaintiff may have been suffering from some type of
mental instability by suggesting to the Plaintiff that he should contact and
utilize the employee help line. He was also instructed by members of the
administrative staff to take a few days off of work but was then terminated

Being that the employer provided the Plaintiff with an excused absence and
suggested assistance due to personal issues that may have been due to a
possible disability, but then later terminated the employee, would constitute
discrimination against an employee with a possible disability if there is/was a
disability that the Plaintiff suffered from.

To terminate an employee due to a possible disability is a clear violation of that
employees Constitutional Right of Employment

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(Discrimination in Violation of Title Vll of the
Civil Rights Act of 1964 and The Americans
with Disabilities Act)

The Plaintiff, a 35 year old Afiican-American male assumed to have had some
type of mental disability and/or instability who was terminated by his employer
after being instructed to take a few days off and to contact an employee self
help line due to “personal reasons”.

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Wherefore, the Plaintiff requests relief and the court award him:

(a) Back pay of the maximum amount of wages and salary he would have received

from his previous employer absent of his discrimination retaliation and loss of
wages due to wrongful termination;

Case 6:19-cV-OO565-CEI\/|-LRH Document 1 Filed 03/21/19 Page 15 of 15 Page|D 15

(b) compensatory and punitive damages for “pecuniary losses, emotional pain
suffering, stress, depression inconvenience, mental anguish, loss of enjoyment
of life, and other non-pecuniary losses” he has suffered;

(c) aggravated, exemplary, and compensatory damages due to his Civil and
Constitutional Rights being Violated by way of retaliation attempted
constructive discharge, wrongful termination defamation and slander, and
attempted denial of government benefits by his employer by providing false
information to a government agency.

(d) relief in the sum of $250,000 in compensatory damages suffered because of his
loss of employment which resulted in the loss of personal property such as his
vehicle and apartment The Plaintiff has endured a slew of financial hardships
since his termination due to the negligent acts conducted by his employer
which include discrimination harassment retaliation and conspiring which led
to his wrongful termination which took place in February of 2018',

(e) other damages and further relief as deemed just

.HLRIIRIALDEMAND

The Plaintiff requests a trial by jury.
Respectfully Subrnitted,

/T ,
Ricar o . Lacroix
Pro Se
15130 Timber Village Rd, Lot 50
Groveland, FL 34736
Tel: (407) 868-1787

Email: mr‘r,lagrgi;@gntlggk,corn

